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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________
                                                    x
UNITED STATES OF AMERICA                            :   Case No. 1:21-cr-00478-ER
                                                    :
              -against-                             :   MOTION TO COMPEL THE
                                                    :   PRODUCTION OF BRADY
                                                    :   MATERIAL
TREVOR MILTON,                                      :
                                                    :
                       Defendant.                   :
________________________________________            x


       Defendant Trevor Milton, through counsel, moves to compel the government to identify

all Brady material contained in its voluminous production made under Federal Rule of Criminal

Procedure 16, violating Mr. Milton’s constitutional rights under the Fifth Amendment and this

Court’s order entered pursuant to Federal Rule of Criminal Procedure 5(f).

       Defendant moves upon the Declaration of Bradley J. Bondi and its exhibits, and the

accompanying Memorandum of Law.

       Defendant respectfully requests oral argument on this matter.




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Dated: December 15, 2021                   Respectfully submitted,

                                                  /s/

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